





















Opinion issued January 27, 2011



In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-09-00495-CV

———————————

Roy H. Bray, Appellant

V.

The Cadle
Company, Appellee



&nbsp;



&nbsp;

On Appeal from the County Court at Law Number One

Harris County, Texas



Trial Court Case No. 922,230

&nbsp;



&nbsp;

MEMORANDUM OPINION&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

Appellant,
Roy H. Bray, has filed a motion to dismiss his appeal.&nbsp; No decision has yet been handed down in this
case.&nbsp; Accordingly, the motion is
granted, and the appeal is dismissed.&nbsp; Tex. R. App. P. 42.1(a)(1).

The Clerk is directed to issue
mandate within 10 days of the date of this opinion.&nbsp; Tex.
R. App. P. 18.1.

PER CURIAM

&nbsp;

Panel
consists of Chief Justice Radack and Justices Bland and Alcala.

&nbsp;





